Case 8:21-cv-00768-JVS-KES Document 40-1 Filed 07/21/21 Page 1 of 2 Page ID #:574


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 8                              UNITED STATES DISTRICT COURT
 9                            CENTRAL DISTRICT OF CALIFORNIA
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11   JANE DOES NO. 1-6 AND JOHN                         CASE NO. 8:21-cv-00768-JVS-KES
12   DOES NO. 2, 3, and 5, on behalf of                 [PROPOSED] ORDER GRANTING
     themselves and all                                 DEFENDANT REDDIT, INC.’S
13   others similarly situated,                         MOTION TO DISMISS
14                         Plaintiffs,                  Before: Hon. James V. Selna
15          v.
16   REDDIT, INC.,
17                         Defendant.
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     [PROPOSED] ORDER GRANTING DEFENDANT’S MOTION TO DISMISS
                                                                       CASE NO. 8:21-CV-00768-JVS-KES
Case 8:21-cv-00768-JVS-KES Document 40-1 Filed 07/21/21 Page 2 of 2 Page ID #:575


 1                                                ORDER
 2          This matter is before the Court on the motion of Defendant Reddit, Inc. to dismiss
 3   all of Plaintiffs’ claims against Reddit, Inc. pursuant to Federal Rules of Civil Procedure
 4   8(a), 9(b), and 12(b)(6). Upon considering the Motion, the papers and records on file in
 5   this action, the argument of counsel, and all matters of which the Court may properly
 6   take judicial notice, the Court hereby GRANTS Reddit, Inc.’s motion and DISMISSES
 7   all of Plaintiffs’ claims with prejudice. The amended Complaint fails to state a cause of
 8   action upon which relief can be granted because Plaintiffs’ claims are barred by 47
 9   U.S.C. § 230(c)(1). Plaintiffs also fail to allege the necessary elements of each claim,
10   and to allege the claims sounding in fraud with particularity. Fed. R. Civ. Proc. 9(b),
11   12(b)(6).
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13          IT IS SO ORDERED.
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15   Dated:
16                                                      Hon. Judge James V. Selna
                                                        United States District Judge
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     [PROPOSED] ORDER GRANTING DEFENDANT’S MOTION TO DISMISS
                                                                        CASE NO. 8:21-CV-00768-JVS-KES
